              Case 4:20-cv-05247-SAB                  ECF No. 6          filed 01/12/21    PageID.53 Page 1 of 1
AO 450 (Rev. 11/11) Judgment in a Civil Action


                                         UNITED STATES DISTRICT COURT                                         FILED IN THE
                                                                  for the_                                U.S. DISTRICT COURT
                                                     Eastern District of Washington                 EASTERN DISTRICT OF WASHINGTON



                        Thomas Swarers                                                               Jan 12, 2021
                                                                     )                                   SEAN F. MCAVOY, CLERK

                             Plaintiff                               )
                                 v.                                  )        Civil Action No. 4:20-cv-05247-SAB
                                                                     )
                      State of Washington
                                                                     )

                            Defendant

                                             JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

’ the plaintiff (name)                                                                                        recover from the
defendant (name)                                                                                                 the amount of
                                                                            dollars ($              ), which includes prejudgment
interest at the rate of                   %, plus post judgment interest at the rate of            % per annum, along with costs.

’ the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                 recover costs from the plaintiff (name)
                                          .

✔ other: The Petition (ECF No. 1) is DISMISSED pursuant to Rule 4, Rules Governing Section 2254 Cases in the United States
’
              District Courts.




This action was (check one):
’ tried by a jury with Judge                                                                         presiding, and the jury has
rendered a verdict.

’ tried by Judge                                                                          without a jury and the above decision
was reached.

✔
’ decided by Judge          Stanley A Bastian                                                  on a Petition for
      Writ of Hapeas Corpus (ECF No. 1).


Date: 1/12/2021                                                              CLERK OF COURT

                                                                             SEAN F. McAVOY

                                                                             s/ Lee Reams
                                                                                          (By) Deputy Clerk

                                                                             Lee Reams
